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CASUALTY COMPANY OF AMERICA




                              UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON

                                       PORTLAND DIVISION

TRAVELERS PROPERTY CASUALTY                           Case No. 3:16-cv-00132-SB
COMPANY OF AMERICA, a Connecticut
corporation,                                          PLAINTIFF TRAVELERS PROPERTY
                                                      CASUALTY COMPANY OF AMERICA’S
                 Plaintiff,                           NOTICE OF DISMISSAL WITH
                                                      PREJUDICE
v.

PEAK WEB, LLC, a California limited liability         [Clerk's Action Required]
company,

                 Defendant.



TO:              Clerk of the Court;

AND TO:          All Parties and their Counsel of Record.




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         PLEASE TAKE NOTICE that plaintiff Travelers Property Casualty Company of

America hereby dismisses its complaint on file herein, with prejudice, pursuant to Rule

41(a)(1)(A)(i) of the Federal Rules of Civil Procedure. The defendant has not filed an answer to

the complaint or a motion for summary judgment.



DATED this 11th day of April, 2016          SEDGWICK LLP




                                            s/Megan M. Coluccio
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                                            Company of America




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